                                     Case 25-10308       Doc 442        Filed 05/12/25        Page 1 of 4




                                       IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF MARYLAND
                                                   (Baltimore Division)


                In re:                                                   Case No. 25-10308 (DER)

                Diamond Comic Distributors, Inc., et al.,1               Chapter 11

                                             Debtors.                    (Jointly Administered)

                                                                         Re: D.I. 376


                              STATEMENT AND RESERVATION OF RIGHTS OF THE OFFICIAL
                               COMMITTEE OF UNSECURED CREDITORS REGARDING THE
                                 UNITED STATES TRUSTEE’S MOTION TO CONVERT TO
                                           CHAPTER 7 OR DISMISS CASE

                         The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

            chapter 11 cases (the “Chapter 11 Cases”) of the above-captioned debtors in possession

            (collectively, the “Debtors”), by and through its undersigned counsel, hereby files this statement

            and reservation of rights (this “Reservation of Rights”) in connection with The United States

            Trustee’s Motion to Convert to Chapter 7 or Dismiss Case [D.I. 376] (the “UST Motion”). In

            support of this Reservation of Rights, the Committee respectfully states as follows:

                                         STATEMENT & RESERVATION OF RIGHTS

                         1.      Given the significant relief sought by the UST Motion, the Committee contacted

            the Debtors promptly after the UST Motion was filed and had certain informal discussions with

            the Debtors regarding the UST Motion (through counsel). Notwithstanding the foregoing, the

            Debtors did not give the Committee any advance notice of the stipulation they filed today [D.I.



            1
                  The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
                  numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
                  (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
                  Road, Suite 300, Hunt Valley, Maryland 21030.
6374728.1
            47351/2
            05/12/2025 314594786.3
                              Case 25-10308      Doc 442     Filed 05/12/25     Page 2 of 4




            441] (the “Stipulation”) to extend today’s deadline to object to the UST Motion for the Debtors

            and JPMorgan Chase Bank, N.A. (“JPM”)—nor have the Debtors advised the Committee of the

            reason for the extension. The Committee contacted the Debtors (through counsel) after the

            Stipulation was filed to inquire as to the reason for the extension and why the Committee was

            excluded from the Stipulation. However, the Debtors have not responded to that correspondence

            as of the filing hereof.

                    2.      The Debtors’ failure to timely update and include the Committee with respect to

            important case matters has become a recurring and problematic theme in this case, and the UST

            Motion and related Stipulation are no exception. In any event, in light of the filing of the

            Stipulation and the potential resolution of the UST Motion based on the Debtors’ recent (but

            untimely) filing of their past-due monthly operating reports, the Committee hereby reserves all

            rights regarding the UST Motion, the relief sought therein, any resolution thereof, and any hearing

            scheduled in connection therewith.

                                       [remainder of page intentionally left blank]




6374728.1

                                                          -- 2 --
                           Case 25-10308     Doc 442    Filed 05/12/25     Page 3 of 4




            May 12, 2025

            TYDINGS & ROSENBERG LLP                        LOWENSTEIN SANDLER LLP
                                                           Bruce S. Nathan (admitted pro hac vice)
            /s/ Stephen B. Gerald                          Gianfranco Finizio (admitted pro hac vice)
            Dennis J. Shaffer (MD Bar No. 25680)           Chelsea R. Frankel (admitted pro hac vice)
            Stephen B. Gerald (MD Bar No. 26590)           1251 Avenue of the Americas
            1 East Pratt Street, Suite 901                 New York, NY 10020
            Baltimore, MD 21202                            Telephone: (212) 262-6700
            Telephone: (410) 752-9700                      Email: bnathan@lowenstein.com
            Email: dshaffer@tydings.com                           gfinizio@lowenstein.com
                    sgerald@tydings.com                           cfrankel@lowenstein.com

                                                           -and-

                                                           Michael T. Papandrea (admitted pro hac vice)
                                                           One Lowenstein Drive
                                                           Roseland, NJ 07068
                                                           Telephone: (973) 597-2500
                                                           Email: mpapandrea@lowenstein.com

                           Co-Counsel to the Official Committee of Unsecured Creditors




6374728.1

                                                     -- 3 --
                           Case 25-10308      Doc 442    Filed 05/12/25       Page 4 of 4




                                          CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that on the 12th day of May, 2025, the foregoing was served via the
            Court’s CM/ECF filing system on the parties set forth below:

            Jan Berlage JBerlage@GHSLLP.com, tcollins@ghsllp.com
            Hugh M. (UST) Bernstein hugh.m.bernstein@usdoj.gov
            Daniel Jack Blum jack.blum@polsinelli.com,
            lsuprum@polsinelli.com;delawaredocketing@polsinelli.com
            Thomas K. Bredar thomas.bredar@wilmerhale.com,
            andrew.goldman@wilmerhale.com;benjamin.loveland@wilmerhale.com;yolande.thompson@wi
            lmerhale.com
            Andrew Brown abrown@klestadt.com
            David W.T. Daniels ddaniels@perkinscoie.com,
            docketnyc@perkinscoie.com;nvargas@perkinscoie.com;KMcClure@perkinscoie.com
            Turner Falk turner.falk@saul.com, tnfalk@recap.email;Veronica.Marchiondo@saul.com
            Ashley N Fellona ashley.fellona@saul.com, janice.mast@saul.com
            Gianfranco Finizio gfinizio@lowenstein.com
            Chelsea R Frankel cfrankel@lowenstein.com
            Zvi Guttman zvi@zviguttman.com, zviguttman@gmail.com,zviguttman@outlook.com
            Jeffrey C. Hampton jeffrey.hampton@saul.com
            Adam H Isenberg adam.isenberg@saul.com
            C. Kevin Kobbe kevin.kobbe@us.dlapiper.com, docketing-baltimore-0421@ecf.pacerpro.com
            Eric George Korphage korphagee@whiteandwilliams.com
            Mark Minuti mark.minuti@saul.com, robyn.warren@saul.com
            Bruce S. Nathan bnathan@lowenstein.com
            Michael Papandrea mpapandrea@lowenstein.com
            Jordan Rosenfeld jordan.rosenfeld@saul.com
            Dennis J. Shaffer dshaffer@tydings.com, scalloway@tydings.com; mhickman@tydings.com;
            jlee@tydings.com
            Indira Kavita Sharma indira.sharma@troutman.com,
            katherine.culbertson@troutman.com;jonathan.young@troutman.com;david.ruediger@troutman.c
            om;errol.chapman@troutman.com;toyja.kelley@troutman.com
            Nicholas Smargiassi nicholas.smargiassi@saul.com
            Brent C. Strickland bstrickland@wtplaw.com, mbaum@wtplaw.com;brent-strickland-
            3227@ecf.pacerpro.com
            Paige Noelle Topper paige.topper@saul.com
            US Trustee - Baltimore USTPRegion04.BA.ECF@USDOJ.GOV

                                                                /s/ Stephen B. Gerald
                                                                Stephen B. Gerald




6374728.1

                                                      -- 4 --
